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                      1 IVAN M. GOLD (BAR NO. 121486)
                        ALLEN MATKINS LECK GAMBLE
                      2   MALLORY & NATSIS LLP
                        Three Embarcadero Center, 12th Floor
                      3 San Francisco, California 94111-4074
                        Phone: (415) 837-1515
                      4 Fax: (415) 837-1516
                        E-Mail: igold@allenmatkins.com
                      5
                        Attorneys for landlord-creditor Camino Real Limited
                      6 Liability Company

                      7

                      8                                    UNITED STATES BANKRUPTCY COURT

                      9                                     CENTRAL DISTRICT OF CALIFORNIA

                     10                                             LOS ANGELES DIVISION

                     11 In re                                                     Case No. 2:24-bk-11569

                     12 METROPOLITAN THEATRES                                     Chapter 11
                        CORPORATION, a California corporation,
                     13                                                           DECLARATION OF MARK D. LINEHAN
                                 Debtor.                                          SUPPORTING OBJECTION OF CAMINO
                     14                                                           REAL LIMITED LIABILITY COMPANY
                                                                                  TO MOTION OF DEBTOR AND DEBTOR
                     15                                                           IN POSSESSION FOR ORDER
                                                                                  AUTHORIZING DEBTOR TO OBTAIN
                     16                                                           POST-PETITION FINANCING

                     17                                                           Date: June 11, 2024
                                                                                  Time: 10:00 a.m.
                     18                                                           Ctrm: Courtroom 1668
                                                                                        Edward R. Roybal Federal Building and
                     19                                                                 Courthouse
                                                                                        255 East Temple Street
                     20                                                                 Los Angeles, CA 90012

                     21

                     22                I, MARK D. LINEHAN, declare:

                     23                1.       I am the managing member of Camino Real Limited Liability Company

                     24 ("Landlord"), the owner of the retail development known as the Camino Real Marketplace, Goleta,

                     25 Santa Barbara County, California. I am also the President of Wynmark Company, which performs

                     26 property management, accounting and leasing services with respect to the Camino Real

                     27 Marketplace on behalf of the Landlord. My responsibilities include the leasing of retail premises

                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP
                                               DECLARATION OF MARK D. LINEHAN SUPPORTING OBJECTION TO MOTION FOR ORDER
                            4884-9383-4433.1            AUTHORIZING DEBTOR TO OBTAIN POST-PETITION FINANCING
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                      1 at the Camino Real Marketplace, together with the monitoring and collection of the performance

                      2 of lease obligations by existing tenants.

                      3                2.      This declaration is submitted in opposition to the Motion of Debtor and Debtor In

                      4 Possession For Order Authorizing Debtor To Obtain Post-Petition Financing Pursuant To 11

                      5 U.S.C. §364.

                      6                3.      As a consequence of my position as both the managing member of Landlord and

                      7 the President of Wynmark, I am one of the custodians of the books, records, and files of Camino

                      8 Real Marketplace as those books, records, and files relate to the use and occupancy of theater

                      9 premises commonly known as 7040 Marketplace Drive, Goleta, California, located in the Camino

                     10 Real Marketplace, operated as Camino Real Cinemas. If called upon to testify in this proceeding,

                     11 as to the matters set forth in this declaration, I could and would competently testify thereto, since

                     12 the facts set forth herein are personally known to me to be true.

                     13                4.      The Camino Real Marketplace is an open-air retail development consisting of

                     14 approximately 475,435 square feet of gross leaseable area. Camino Real Marketplace has over

                     15 twenty retail stores and restaurants, including well-known retailers such as Best Buy, BevMo!,

                     16 Costco, Home Depot, HomeGoods, Ross Dress for Less, Staples and Ulta Beauty, eleven

                     17 restaurants, the Camino Real Cinemas, and shared parking areas with over 2,500 parking spaces.

                     18                5.      On or about January 15, 1999, Landlord, as landlord, and debtor Metropolitan

                     19 Theatres Corporation, as tenant, entered into a written Shopping Center Lease (the "Lease") for an

                     20 approximately 21,900 square foot theatre in the Camino Real Marketplace, commonly known as

                     21 the Camino Real Cinemas, 7040 Marketplace Drive, as more particularly described in the Lease.

                     22 The term of the Lease is currently scheduled to expire on February 28, 2025, with an additional

                     23 tenant option to further extend the term. A true and correct copy of the Lease is attached hereto as

                     24 Exhibit "1" and incorporated herein by this reference. I signed the Lease on behalf of Landlord.

                     25

                     26

                     27

                     28
       LAW OFFICES
Allen Matkins Leck Gamble                                                        -2-
   Mallory & Natsis LLP
                                               DECLARATION OF MARK D. LINEHAN SUPPORTING OBJECTION TO MOTION FOR ORDER
                            4884-9383-4433.1            AUTHORIZING DEBTOR TO OBTAIN POST-PETITION FINANCING
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Three Embarcadero Center, 12th Floor, San Francisco, CA 94111
A true and correct copy of the foregoing document entitled (specify): DECLARATION OF MARK D. LINEHAN
SUPPORTING OBJECTION OF CAMINO REAL LIMITED LIABILITY COMPANY TO MOTION OF DEBTOR AND
DEBTOR IN POSSESSION FOR ORDER AUTHORIZING DEBTOR TO OBTAIN POST-PETITION FINANCING
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
May 28, 2024        , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
ALL PARTIES ARE ECF RECIPIENTS
                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                     , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                     , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

May 28, 2024                   Cynthia Lynch                                                   /s/ Cynthia Lynch
 Date                          Printed Name                                                     Signature




                          DECLARATION OF MARK D. LINEHAN SUPPORTING OBJECTION TO MOTION OF DEBTOR AND
                           DEBTOR IN POSSESSION FOR ORDER AUTHORIZING DEBTOR TO OBTAIN POST-PETITION
            This form is mandatory. It has been approved for use by the Fi      i
                                                                        United States Bankruptcy Court for the Central District of California.
June 2012                                                                       F 9013-3.1.PROOF.SERVICE
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                                   ECF SERVICE LIST

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zarnighiann@ballardspahr.com; info@bankdirectcapital.com; dustin.nirschl@bbklaw.com;
mark@wynmark.com; sfonseca@calexico.ca.gov; mgomez@calexico.ca.gov;
lreyes@calexico.ca.gov; kurena@calexico.ca.gov; mgarcia@calexico.ca.gov;
egarcia@calexico.ca.gov; imunoz@calexico.ca.gov; info@santabarbaraca.gov;
sclark@santabarbaraca.gov; nechoice@constellation.com; stephen.byers@constellation.com;
lee.turner@constellation.com; choicecompliance@constellation.com;
investorrelations@constellation.com; home@constellation.com; info@crockerair.com;
ryan.eisenbraun@brinkmanre.com; natalie.vessey@cbre.com; kellyd9941@cox.net;
hvaughn@icee.com; jeff.sauer@ifinancial.com; lew@landaunet.com;
douglas.flahaut@afslaw.com; diana@rblaw.com; jclark@oconnorcochran.com;
moconnor@oconnorcochran.com; david.s.shevitz@usdoj.gov; ron.maroko@usdoj.gov;
everett.l.green@usdoj.gov; ar@royalcorporation.com; corporatesecretary@edisonintl.com;
claims@sce.com; customerservice@sgproof.com; crosby@investecre.com;
melanie.villani@pfgc.com; karl@wildhorsemarketplace.com




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